                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                3:07CV361-3-MU
                                 3:03CR218-MU


                                               )
CHRISTOPHER REGINALD HINES,                    )
                                               )
                             Petitioner,       )
              Vs.                              )                   ORDER
                                               )
UNITED STATED OF AMERICA,                      )
                                               )
                             Respondent.       )


       THIS MATTER comes before the Court on the Petitioner’s Motion to Vacate, Set Aside,

or Correct Sentence (Doc. No. 1); Petitioner’s Amended Document (Doc. No. 5); Petitioner’s Motion

for Summary Judgment (Doc. No. 6); the Government’s Motion for Summary Judgment (Doc. No.

18);Petitioner’s Motion for Partial Summary Judgment (Doc. No. 21); Petitioner’s Response to the

Government’s Motion for Summary Judgment (Doc. No. 23); the Government’s Response (Doc. No.

50); Petitioner’s Motion for Discovery (Doc. No. 24); the Government’s Response to Petitioner’s

Motion for Partial Summary Judgment (Doc. No. 35); Petitioner’s Motion to Correct Clerical Error

Under F.R.Cr. P. 36 or F.R.Civ. P. 60;1 (Doc. No. 38); Petitioner’s Motion to Expedite (Doc. No.

41); Petitioner’s Motion to Strike (Doc. No. 51); Petitioner’s Motion for Summary Judgment (Doc.



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          Petitioner’s motion alleges two clerical errors in the Court’s Amended Judgment: (1)
that the conspiracy as alleged in Count One of the Superseding Indictment ended on “9/2001"
and not on “9/2003" as stated in the Amended Judgment and (2) the Court sentenced the
defendant to sixty (60) months confinement on Count One of the Superseding Indictment and not
six (6) as stated in the Amended Judgment. The Government does not oppose this motion.
(Doc. No. 56.)

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No. 53); and Petitioner’s Motion that the Government Concede (Doc. No. 54)

                        I. FACTUAL AND PROCEDURAL HISTORY

       A review of the record reveals that on December 16, 2003 Petitioner was charged in a twelve-

count Bill of Indictment arising from an extensive mortgage fraud and money laundering scheme.

A Superseding Bill of Indictment was subsequently returned and filed on July 27, 2004. A Second

Superseding Bill of Indictment was returned and filed on August 23, 2004, wherein Petitioner was

charged in Count One with conspiracy to commit various federal offenses, including the making of

false statements and application in relation to a loan, mail fraud, wire fraud, and bank fraud; and in

Count Eleven with conspiracy to launder money. The Second Superseding Bill of Indictment further

listed several aggravating factors, including the amount of loss foreseeable to Petitioner

(approximately $7 million), the number of victims (between 10 and 50), the fact that Petitioner’s

offenses were committed by sophisticated means, the amount of gross receipts derived by Petitioner

from federally-insured financial institutions (more than $1 million), and the fact that Petitioner was

the leader and organizer of extensive criminal activity involving five or more participants.

       On September 8, 2004 Petitioner filed a written plea agreement in which he pled guilty to

Counts One and Eleven of the Second Superseding Indictment. In his plea agreement, Petitioner

specifically stipulated that a factual basis existed to support his guilty plea to both Counts. In

addition, Petitioner and his counsel executed, under oath, a factual stipulation in which Petitioner

admitted, in pertinent part, that he knew material misrepresentations were made on real estate closing

statements from which his company received proceeds and that said proceeds were used to facilitate

additional financial transactions in furtherance of the charged conspiracy.

       Petitioner appeared in court on September 8, 2004 for a Plea and Rule 11 Hearing before


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Magistrate Judge Horn. During the hearing, Judge Horn specifically described the elements of the

offenses to which Petitioner was pleading guilty, Government counsel summarized the substance of

the counts and the potential penalties and Petitioner affirmed that he understood the charges against

him and the possible penalties. (Rule 11 Hearing Transcript at 4-9, 13-15, 19.) Government counsel

also read Petitioner’s factual stipulation, after which a correction was made and Petitioner

acknowledged that it was a true statement. (Id. at 10.) Government counsel also recited the more

significant terms of the plea agreement, including that Petitioner was waiving his right to appeal and

to challenge his conviction or sentence in a post-conviction proceeding, except with respect to

allegations of ineffective assistance of counsel or prosecutorial misconduct. (Id. at 17-18.)

Petitioner affirmed that the Government had correctly stated the terms of the plea agreement. (Id.

at 19.) Petitioner also affirmed that he was satisfied with the services of his attorney and Magistrate

Judge Horn accepted the plea. (Id. at 20-22.)

       On or about February 17, 2005, the United States Probation Office published its Presentence

Report (PSR) which substantially adopted the stipulations in the plea agreement. However, on

March 1, 2005, Petitioner sought to discharge his counsel, Mr. Deke Falls, based on irreconcilable

differences regarding Petitioner’s desire to withdraw his guilty pleas.    An inquiry as to the status

of counsel was heard by Magistrate Judge Horn, during which Mr. Falls was permitted to withdraw

from the case and substitute counsel was appointed.

       On March 22, 2005, Petitioner’s new counsel, Andrew Murray, filed Petitioner’s Motion to

Withdraw Guilty Pleas alleging, in part, that Petitioner “has always maintained his innocence” and

that he entered his guilty pleas only because his first appointed counsel was unprepared for trial. On

April 21, 2005, Magistrate Judge Horn held a hearing on Petitioner’s Motion to Withdraw his guilty


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pleas. During that hearing and despite his prior sworn statements in the Rule 11 Hearing and filed

factual stipulation, Petitioner asserted that he had maintained his innocence and that he acquiesced

to pleading guilty under stress and the belief that his attorney was not adequately prepared to

represent him at trial. (Plea Withdrawal Hearing Transcript at 2-3.) In response, Government

counsel noted that he and the case agents met with Petitioner and his counsel prior to the Rule 11

Hearing to review the plea agreement. At the meeting, Government counsel specifically asked

Petitioner if he understood the plea agreement and stated that he could only enter guilty pleas if he

was, in fact, guilty of the offenses. (Id. at 4-5.) On April 22, 2005, Magistrate Judge Horn issued

a Memorandum and Order denying Petitioner’s Motion to Withdraw Guilty Pleas. (Case No.

3:03cr218, Doc. No. 84.) The Memorandum and Order cited as its basis Petitioner’s testimony under

oath during the Rule 11 Hearing, his written admission of guilt, and the fact that Petitioner offered

little or no evidentiary support for his claim of ineffective assistance of counsel. Judge Horn further

noted that sending the case to trial would result in substantial prejudice to the Government,

inconvenience to the Court and a waste of judicial resources.

       Petitioner objected to Judge Horn’s Memorandum and Order and on August 23, 2005 the

undersigned held a de novo hearing on Petitioner’s Motion to Withdraw his Guilty Pleas. Petitioner

and Mr. Falls testified during the hearing. At the conclusion of the hearing, this Court denied

Petitioner’s motion to withdraw, finding that Petitioner’s testimony was not credible, his counsel was

competent and setting a new trial in the case would be prejudicial to the Government and place a

substantial burden on judicial resources. (Plea Withdrawal Hearing Transcript at 68-70.) More

specifically, the undersigned found that Petitioner had not provided credible evidence that his plea

was not knowing or voluntary or that he had a claim of legal innocence. (Id. at 68.)


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       On September 23, 2005, the United States Probation Office completed a revised PSR

calculating Petitioner’s base offense level as 28 for Counts One and Eleven. The Probation Officer

also recommended an increase of two levels for his violation of 18 U.S.C. § 1956 and an increase

of four levels for Petitioner’s role as an organizer and leader in the offenses. The Probation Officer

also recommended that the Court deny Petitioner any credit for acceptance of responsibility and

increase his sentence by two levels based on Petitioner’s testimony in the Motion to Withdraw

Hearing repudiating his prior sworn statements in the Rule 11 Hearing and filed factual stipulation.

The revised PSR recommended a total offense level of 36, yielding a Sentencing Guidelines range

of imprisonment of 188 to 235 months based on criminal history category I. Petitioner objected to

the revised PSR and reasserted his innocence.

       On September 28, 2005 this Court held a sentencing hearing at which the undersigned found

that Petitioner knowingly and voluntarily entered his guilty plea with an understanding of the

charges, possible penalties and consequences. (Sentencing Hearing Transcript at 6.) The Court

overruled Petitioner’s PSR objections and found that a two-level increase for obstruction of justice

was appropriate. (Id. at 15.) The Court accepted the PSR as its factual basis for Petitioner’s guilty

pleas and found, based on an offense level of 36 and a criminal history category I, that Petitioner was

subject to a Guidelines imprisonment range for Count One of 60 months and for Count Eleven of

188 to 235 months. The Court sentenced Petitioner to 60 month imprisonment on Count One and

188 months imprisonment on Count Eleven to run concurrently. (Id. at 17.)

       Petitioner filed a notice of appeal on September 28, 2005.       On April 2, 2007, the Fourth

Circuit Court of Appeals affirmed Petitioner’s conviction and sentence, holding that the district court

did not abuse its discretion in denying Petitioner’s motion to withdraw his guilty plea and in finding


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an adequate factual basis to support the plea. United States v. Hines, 227 F. App’x 256, 257-58 (4th

Cir. 2007). On August 27, 2007 Petitioner filed the instant Motion to Vacate alleging that both

counsel in the district court, Deke Falls and Andrew Murray, were ineffective. In particular,

Petitioner alleged that Mr. Falls failed to investigate the case and required that Petitioner pore

through boxes of files provided by the Federal Bureau, requesting the files Petitioner thought might

be needed for trial. Petitioner asserts that Mr. Falls was not prepared for trial and that he only pled

guilty as a result of the lack of preparedness on the part of Mr. Falls. Petitioner asserts that when he

expressed concern about the amount of loss for which he would be held responsible under the plea

agreement, Mr. Falls responded that he should not be concerned about this figure because the Court

had the discretion to sentence Petitioner based on an investigation into the facts and in accordance

with the Sentencing Guidelines. Petitioner contends that he was held responsible for estimated

losses, rather than actual loss and otherwise sentenced in contravention to the Guidelines.

       Petitioner also alleges that his subsequent counsel, Andrew Murray, provided ineffective

assistance of counsel by failing to investigate Petitioner’s assertions with respect to the plea

withdrawal hearing. Specifically, Petitioner asserts that Mr. Falls committed perjury during the plea

withdrawal hearing and that Mr. Murray failed to argue that perjury to the Court or investigate the

truth of Mr. Falls’ assertions. Petitioner also claims that Mr. Murray failed to argue effectively for

his legal innocence; failed to question Mr. Falls as to when Petitioner first requested that he move

to withdraw Petitioner’s guilty plea; failed to compare Mr. Falls’ statements set forth in Petitioner’s

motion for a continuance with his later testimony at the plea withdrawal hearing; failed to establish

Mr. Falls’ ineffectiveness, resulting in a four-level increase in Petitioner’s offense level; and failed

to argue that the Government had breached the plea agreement insofar as the agreement provided that


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the Court would determine the loss amount, while Mr. Murray stipulated to the amount of loss to

which Petitioner agreed in pleading guilty. Petitioner also alleges that Mr. Murray was ineffective

on appeal for failing to challenge his sentence as unreasonable.

          Petitioner also alleges that he is actually innocent as to the charges of money laundering and

conspiracy, asserting that the stipulations he signed as part of the plea agreement were not true,

particularly the stipulation that he was aware that false information regarding the source of down

payments was contained in the HUD-1 settlement statements.

          Petitioner alleges prosecutorial misconduct, alleging that Government counsel falsely

assured him that he would be sentenced in accordance with the United States Sentencing Guidelines

and that his stipulations as to loss amount were only to serve as recommendations to the district court

and were not binding. Petitioner also alleges that Government counsel breached the plea agreement

by failing to move for a downward departure where his co-defendants received downward departures

and he was “just as deserving of a downward departure motion as they were.” (Motion to Vacate

at 37.)     Petitioner further asserts that Government counsel was vindictive when he sought

enhancements and a loss amount for sentencing purposes that he knew had no basis in fact and in

threatening to prosecute Petitioner for crimes associated with a company with which Petitioner had

no dealings.

          Finally, Petitioner contends that counsel should have challenged the application of the 2002

edition of the Guidelines based on a violation of the Ex Post Facto Clause of the United States

Constitution.

          In response to Petitioner’s motion, the Government obtained an affidavit from Mr. Falls in

which Mr. Falls states that in an effort to defend Petitioner effectively, he requested and received


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funding to retain an investigator who interviewed potential witnesses, the names of whom were

provided by Petitioner or through Mr. Falls’ review of discovery.            (Falls Aff., attached to

Respondent’s Motion for Summary Judgment.) According to Mr. Falls, after consulting with the

investigator following her interviews, he determined that they would not be helpful witnesses for the

Defendant. (Id.) Mr. Falls stated that he reviewed every relevant witness statement provided in

discovery, and nearly every potential witness implicated Petitioner as a central figure in the mortgage

fraud. (Id.) With respect to Petitioner’s decision to plead guilty, Mr. Falls noted that the witness

about whom he was most concerned was a former topless dancer who would testify to performing

for Petitioner while his wife was at work and his children at school and while Petitioner smoked

crack cocaine. (Id.) The Government did not, according to Mr. Falls, initially intend to use this

witness but later learned that the witness had also committed mortgage fraud at Petitioner’s direction,

resulting in the decision to use the witness and to have her explain how she came to know Petitioner.

(Id.) Mr. Falls informed Petitioner of this development, as well as of the fact that there were no

witnesses, other than Petitioner himself, who would testify that Petitioner was not involved in the

fraud, though there might be witnesses who were personally unaware that he was involved in the

fraud. (Id.) Mr. Falls states in his affidavit that he spent nearly all of his time working on

Petitioner’s case as the trial approached and was in contact with Petitioner nearly daily, if not more

frequently. Mr. Falls states further that he subpoenaed witnesses at Petitioner’s direction and did not

release those witnesses until after Petitioner decided to plead guilty. (Id.) According to Mr. Falls,

Petitioner never expressed concern that Mr. Falls was unprepared for trial. Finally, Mr. Falls states

that after pleading guilty, Petitioner attempted to provide assistance to the Government by giving

names of other individuals whom he knew were also involved in mortgage fraud. (Id.)


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                                            II. ANALYSIS

          A. Ineffective Assistance of Counsel

          Petitioner cites a laundry list of reasons that, from his point of view, establish that his

attorney was ineffective. With respect to claims of ineffective assistance of counsel, a petitioner

must show that counsel’s performance was constitutionally deficient to the extent that it fell below

an objective standard of reasonableness, and that he was prejudiced thereby. Strickland v.

Washington, 466 U.S. 687-91 (1984). In making this determination, there is a strong presumption

that counsel’s conduct was within the wide range of reasonable professional assistance. Id. at 689;

see also Fields v. Attorney Gen. Of Md., 956 F.2d 1290, 1297-99 (4th Cir.), cert. denied, 474 U.S.

865 (1985); Hutchins v. Garrison, 724 F.2d 1425, 1430-31 (4th Cir. 1983), cert. denied, 464 U.S.

1065 (1984); and Marzullo v. Maryland, 561 F.2d 540 (4th Cir. 1977), cert. denied, 435 U.S. 1011

(1978).

          Under these circumstances, the petitioner “bears the burden of proving Strickland prejudice.”

Fields, 956 F.2d at 1297, citing Hutchins, 724 F.2d at 1430-31. If the petitioner fails to meet this

burden, a reviewing court need not consider the performance prong.” Fields, 956 F.2d at 1290,

citing, Strickland, 466 U.S. at 697.

          Furthermore, in considering the prejudice prong of the analysis, the Court must not grant

relief solely because the petitioner can show that, but for counsel’s performance, the outcome would

have been different. Sexton v. French, 163 F.3d 874, 882 (4th Cir. 1998), cert. denied, 528 U.S. 855

(1999). Rather, the Court “can only grant relief under ... Strickland if the ‘result of the proceeding

was fundamentally unfair or unreliable.’” Id., quoting Lockhart v. Fretwell, 506 U.S. 364 U.S. 364,

369 (1993).


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        Critically, because some of Petitioner’s claims are attempting to challenge issues at

sentencing, in order to demonstrate an entitlement to relief on those, he must, at a minimum, allege

facts which establish that his “sentence would have been more lenient” absent counsel’s errors.

Royal v. Taylor, 188 F.3d 239, 248-49 (4th Cir. 1999). As to Petitioner’s claims regarding pre-

sentencing issues, the Court will use the appropriate standard for establishing prejudice in the plea

context. In that instance, a petitioner must show that his counsel’s performance was deficient and

“there is a reasonable probability that, but for counsel’s errors, he would not have pleaded guilty and

would have insisted on going to trial.” Fields, 956 F.2d at 1297 (quoting Hill v. Lockhart, 474 U.S.

52, 59 (1985) (internal citations and quotations omitted).

        In evaluating post-guilty plea claims of ineffective assistance, statements previously made

under oath affirming satisfaction with counsel are deemed binding in the absence of “clear and

convincing evidence to the contrary.” Fields, 956 F.2d at 1299, citing Blackledge v. Allison, 431

U.S. 63, 74-75 (1977). Moreover, statements made during Rule 11 proceedings constitute strong

evidence of the voluntariness of a defendant’s plea. United States v. DeFusco, 949 F.2d 114, 119

(4th Cir. 1991).

        A presumption exists that counsel is competent. A defendant seeking post-conviction relief

bears a heavy burden to overcome this presumption. And the presumption is not overcome by

conclusory allegations. Carpenter v. United States, 720 F.2d 546 (8th Cir. 1983). Indeed, the

defendant bears an even heavier burden where, as here, the claim of ineffective assistance of counsel

follows the entry of a guilty plea.

                   a. Mr. Falls

        Petitioner claims that Mr. Falls was ineffective for a variety of reasons. Specifically,


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Petitioner alleges that Mr. Falls failed to investigate the case and required that Petitioner pore

through boxes of files provided by the Federal Bureau, requesting the files Petitioner thought might

be needed for trial.2 Petitioner asserts that Mr. Falls was not prepared for trial and that he only pled

guilty as a result of the lack of preparedness on the part of Mr. Falls.3 Petitioner asserts that when

he expressed concern about the amount of loss for which he would be held responsible under the plea

agreement, Mr. Falls responded that he should not be concerned about this figure because the Court

had the discretion to sentence Petitioner based on an investigation into the facts and in accordance

with the Sentencing Guidelines. Petitioner contends that he was held responsible for estimated

losses, rather than actual loss and otherwise sentenced in contravention to the Guidelines

        Contrary to Petitioner’s allegation, Mr. Falls states in his affidavit that he hired an

investigator to assist in his investigation into the charges against Petitioner related to mortgage fraud,

that his investigator interviewed all witnesses identified by Petitioner or by Mr. Falls as a result of

his review of the discovery, and that he evaluated the statements by these witnesses for their value

to Petitioner’s defense. Mr. Falls ultimately concluded that the only witness available to testify that

Petitioner did not participate in the charged mortgage fraud was the Petitioner himself.

        This Court has already concluded that Mr. Falls provided “close assistance of counsel” on

the record at the conclusion of Petitioner’s hearing on his motion to withdraw his plea. (Transcript


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         The Court is not concerned with the fact that Petitioner assisted counsel in reviewing
discovery. This is common practice in a sophisticated fraud case such as this as it is often the
Defendant who is most familiar with the business documents. The fact that counsel relied upon
the Defendant to “pore through boxes of files” does not amount to ineffective assistance of
counsel.
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         As an example of Mr. Falls’ failure to investigate the case, Petitioner contends that there
were five witnesses who would have testified that they had no knowledge of Petitioner’s
involvement in fraud.

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at 69.) During that hearing, the evidence established that Mr. Falls met with Petitioner 8 - 12 times

between January 8, 2004 and March 2005, and attended at least one and perhaps two meetings at

which Petitioner, Mr. Falls, Government counsel and agents were in attendance; that Mr. Falls was

in constant e-mail contact with his client and Government counsel in the weeks leading up to the trial

date; that Mr. Falls requested and was granted the assistance of a private investigator; and that Mr.

Falls testified that he was ready to go to trial (Transcript at 23,24,25, 50, 57,61, 64). The allegations

in the instant motion regarding Mr. Falls’ ineffective assistance are the very same as those raised

in the context of his motion to withdraw his guilty plea. As this Court has already specifically

concluded, after hearing testimony, Mr. Falls provided Petitioner with close assistance of counsel,

and Petitioner has provided no additional evidence in this motion which establishes that Mr. Falls

was ineffective. Therefore, the Court finds that Petitioner has not established that his counsel, Mr.

Falls, provided ineffective assistance of counsel and has not met his burden under the Strickland

test.4

                b. Mr. Murray

         Next, Petitioner contends that Mr. Murray, the attorney who was appointed to represent him

after Mr. Falls withdrew from the case, was also ineffective. Petitioner alleges that


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         Petitioner also argues that Mr. Falls was ineffective for failing to file a motion to
suppress the testimony of Ms. Frankie Hemphill. The Supreme Court explained in Tollett v.
Henderson, 411 U.S. 258 (1973), that “a guilty plea represents a break in the chain of events
which has preceded the criminal process.” As a result, “[w]hen a criminal defendant has
solemnly admitted in open court that he is in fact guilty of the offense with which he is charged,
he may not thereafter raise independent claims relating to the deprivation of constitutional rights
that occurred prior to the entry of the guilty plea.” Id. However, a guilty plea does not bar
collateral review of allegations of ineffective assistance of counsel in so far as the alleged
ineffectiveness bears on the voluntariness of the plea. Fields at 1296. Here, Petitioner does not
contest the voluntariness of his plea. Therefore, Petitioner’s claim is waived pursuant to Tollett.


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Mr. Murray provided ineffective assistance of counsel by failing to investigate Petitioner’s assertions

with respect to the plea withdrawal hearing. Specifically, Petitioner asserts that Mr. Falls committed

perjury during the plea withdrawal hearing and that Mr. Murray failed to argue that perjury to the

Court or investigate the truth of Mr. Falls’ assertions. Petitioner also claims that Mr. Murray failed

to argue effectively for his legal innocence; failed to question Mr. Falls as to when Petitioner first

requested that he move to withdraw Petitioner’s guilty plea; failed to compare Mr. Falls’ statements

set forth in Petitioner’s motion for a continuance with his later testimony at the plea withdrawal

hearing; failed to establish Mr. Falls’ ineffectiveness, resulting in a four-level increase in Petitioner’s

offense level; and failed to argue that the Government had breached the plea agreement insofar as

the agreement provided that the Court would determine the loss amount, while Mr. Murray stipulated

to the amount of loss to which Petitioner agreed in pleading guilty. Petitioner also alleges that Mr.

Murray was ineffective on appeal for failing to challenge his sentence as unreasonable.

        First the Court notes that Petitioner provides no evidence in support of his allegations.

However, this Court has reviewed the transcript of Petitioner’s motion to withdraw his guilty plea

which took place before the undersigned on August 23, 2005 and finds no support for Petitioner’s

allegations against Mr. Murray with respect to his claims that Mr. Murray was deficient regarding

his representation at that hearing. Indeed, the record establishes that Mr. Murray began his

presentation to the Court on August 23, 2005 by explaining to the Court that he counseled his client

of the possible ramifications, at sentencing, of trying to withdraw his guilty plea. (Transcript at 4.)

Mr. Murray then proceeded with the hearing at which Petitioner testified extensively regarding Mr.

Falls’ representation of him. Mr. Murray questioned Petitioner about the events which led him to

decide to enter into a plea agreement with the Government and also those that led to his decision to


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seek to withdraw his plea. (Transcript at 4 - 22). Mr. Murray specifically questioned Petitioner

about the timing of his decision to withdraw his plea and when he communicated his desire to

withdraw his plea to Mr. Falls. (Id. at 17 -19). Next, Mr. Murray called Mr. Falls as a witness and

extensively questioned Mr. Falls regarding his relationship with Petitioner and when he became

aware of Petitioner’s desire to withdraw his plea. (Id. at 49 - 60). At the conclusion of the evidence,

Mr. Murray vehemently argued that his clients’ motion should be granted succinctly summarizing

the evidence for the Court that Petitioner only agreed to plead guilty because he felt Mr. Falls was

not prepared to proceed to trial. Specifically, Mr. Murray argued that Mr. Falls did not “put enough

time into the documents,” “did not know the documents well enough,” “had not had enough

communication with [Petitioner] to make him feel comfortable,” that “the proper witnesses had not

been interviewed” and that “there were not proper subpoenas out.” (Id. at 67). Mr. Murray argued

that Petitioner immediately told Mr. Falls that he felt forced into entering the plea and that he wanted

to withdraw his plea. (Id.) Finally, Mr. Murray argued that Petitioner “always asserted his

innocence.” (Id. at 66.) This Court finds that Mr. Murray was not deficient in his representation of

Petitioner with regards to the motion to withdraw. Quite the contrary, Mr. Murray vigorously argued

on his client’s behalf that Petitioner be permitted to withdraw his guilty plea.

       Petitioner has not established that his counsel was deficient in his representation of Petitioner

with respect to the motion to withdraw. He has not established either prong of the Strickland test

and therefore his claims regarding Mr. Murray’s representation of him with respect to the motion to

withdraw are dismissed.

                       I. Ineffectiveness at Sentencing

        Petitioner contends that Mr. Murray was ineffective for failing to argue that the Government


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had breached the plea agreement insofar as the agreement provided that the Court would determine

the loss amount, while Mr. Murray stipulated to the amount of loss to which Petitioner agreed in

pleading guilty. Petitioner also contends that Mr. Murray’s representation was deficient because he

had admittedly not reviewed the entirety of discovery prior to the sentencing hearing, focusing,

instead on the attempt to secure the withdrawal of Petitioner’s guilty plea.   A review of the plea

agreement, which Petitioner entered into prior to Mr. Murray’s representation, reveals that

Petitioner’s sentence wold be determined by the sentencing judge. (Plea Agreement ¶ 4.) The

agreement also reveals that Petitioner stipulated as follows: The amount of loss attributable to

offenses known to the government and reasonably foreseeable to the defendant at the time his

cooperation began was more than $2.5 million and less than $7 million.              See U.S.S.G. §

2B1.1(b)(1)(J). The defendant understands that “loss” under 2§B1.1may be different from, greater,

or lesser than “restitution” under 18 U.S.C. § 3556.” (Plea Agreement ¶ 5c.) At the Sentencing

Hearing, Government counsel offered to provide a factual basis, through the testimony of the case

agent, for how the loss was calculated and noted that the parties did stipulate in the plea agreement

that the loss was more than $2.5 million and less than $7 million. (Sentencing Transcript 11-12.)

       The record also establishes that Mr. Murray made an argument that the loss amount was

“escalated.” (Plea Agreement at 7.) In response, Government counsel noted the stipulation

regarding loss in the plea agreement and at the same time offered to put on evidence through his case

agent as to how the loss was calculated. In response, the Court sentenced Petitioner consistent with

the stipulation on the loss in the plea agreement.

       Petitioner has not established that his counsel’s performance at sentencing was deficient.

Indeed, Mr. Murray voiced his objection to the loss amounts, Government counsel responded and


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the Court sentenced Petitioner. The Court finds Mr. Murray was not ineffective for failing to argue

that the Government had breached the plea agreement with respect to the loss amount. There was

no breach of the agreement and this claim is dismissed.

                       ii. Ineffectiveness on Appeal

       Petitioner contends that his counsel, Andrew Murray, was ineffective on appeal for failing

to challenge his sentence as unreasonable. Petitioner was sentenced within the applicable Guidelines

range of imprisonment. The Fourth Circuit has specifically held that a sentence within the applicable

Guidelines range of imprisonment is entitled to a presumption of reasonableness. United States v.

Moreland, 437 F.3d 424, 433 (4th Cir. 2006) (“A sentence that falls within the properly calculated

advisory guideline range is entitled to a rebuttable presumption of reasonableness.”). The Supreme

Court has upheld this appellate presumption. Rita v. United States, 127 S. Ct. 2456, 2462 (2007).

Petitioner has asserted no credible argument in favor of a finding of unreasonableness, and there is

no reasonable probability that the outcome of the appeal would have differed had Mr. Murray made

such an argument.

               c. Ex Post Facto Claim

       Petitioner claims that both Mr. Falls and Mr. Murray were ineffective for failing to advise

him that the 2002 edition of the Guidelines were less favorable to him than the 2000 edition which

is the edition which corresponds to the time period of the conspiracy alleged in the Indictment. In

support of his argument, Petitioner cites to language in the plea agreement which states that “[s]ince

the offenses charged in the Second Superseding Indictment (and misconduct relevant to that offense)

occurred before November 5, 2003, and the Guidelines in effect at the time of the charge [sic]

offense are more favorable to the defendant, the offense level in the defendant’s case should be


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determined by the Guidelines effective November 1, 2002.” (Plea Agreement at 2.) The language

was apparently inserted into the plea agreement because the Sentencing Guidelines § 2B1.1 was

amended effective November 1, 2003 to provide for an increased base offense level for certain

offenses. Therefore, the plan was to ensure that rather than using the Guidelines in effect at the time

of Petitioner’s sentencing, the pre-amendment Guidelines would be used. (Doc. No. 50 at 3-4.)

       Petitioner was sentenced under the 2002 Guidelines, which calculations began with § 2S1.1

providing that when a defendant is convicted of money laundering under 18 U.S.C. § 1956(h), the

court is to use the base offense level for the underlying offense from which the laundered funds were

derived, using the most serious underlying offense in the case of multiple underlying offenses. See

U.S.S.G. §§ 2S1.1(a)(1) and 2S1.1 cmt. n. 2(A)(2002). Therefore the Probation Officer determined

that the guideline for bank fraud, found in § 2B1.1 was the appropriate guideline. Under § 2B1.1

the base offense level was determined to be 6. Eighteen levels were added based on the stipulated

loss amount of between $2.5 and 7 million. Two levels were added based on the identification of

between 10 and 50 victims and two levels were added due to Petitioner’s receipt of more than $1

million dollars, resulting in a base offense level of 28 for the money laundering conspiracy. In

addition, the Probation Officer recommended a two-level enhancement under § 2S.1.(b)(2)(B)

because the offense involved a violation of 18 U.S.C. § 1956, a four-level enhancement because

Petitioner was a leader of the offense pursuant to § 3B1.1(a) and a two-level enhancement because

Petitioner obstructed the sentencing proceeding by making false and conflicting statements to the

Court, yielding a total offense level of 36. Petitioner was sentenced to 188 months, which is the low

end of a Guideline range of 188 - 235 months.

       The Government contends that under the 2000 Guidelines, application of the money


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laundering guidelines set forth in § 2S1.1 would have generated a base offense level of 23. See

U.S.S.G. § 2S1.1(a)(1) (2000).5 Subsection (b)(2) then provides for enhancements based on “the

value of the funds” involved in the money laundering offense. While the “value of the funds” is not

defined in the guideline, courts, in applying this guideline, have considered the total amount of the

funds it believed was involved in the course of the criminal conduct. United States v. Barrios, 993

F.2d 1522, 1524 (11th Cir. 1993); see also United States v. Johnson, 971 F.2d 562, 575 (10th Cir.

1992). However, in this case, Petitioner stipulated that the loss to the victims was between $2.5 and

7 million and the indictment charged him with having caused a foreseeable loss of approximately

$7 million. The amount of funds involved in the course of Petitioner’s criminal conduct, then, was

up to $7 million based on Petitioner’s stipulations, which corresponds to an eight-level enhancement

under § 2S1.1(b)(2)(I). In addition, Petitioner was subject to a four-level enhancement for his role

as leader of the money laundering conspiracy and a two-level obstruction of justice enhancement,

yielding a total offense level of 37, one level higher than that generated through the application of

the 2002 edition of the Guidelines. Because the 2000 edition of the Sentencing Guidelines does not

result in an offense level or corresponding Guidelines range of imprisonment lower than that

resulting from an application of the 2002 edition of the Guidelines, Petitioner cannot establish that

his counsel was deficient for failing to argue in favor of the application of the 2000 edition of the

Guidelines or that he was prejudiced.

       B. Prosecutorial Misconduct

       Petitioner alleges prosecutorial misconduct, claiming that Government counsel falsely


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         The Court notes that the substantive offense to which Petitioner pled was a money
laundering offense in violation of 18 U.S.C. § 1956(a)(1)(A)(I). See Second Superseding Bill of
Indictment ¶ 23. (Case No. 3:03cr218, Doc. No. 52.)

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assured him that he would be sentenced in accordance with the United States Sentencing Guidelines

and that his stipulations as to loss amount were only to serve as recommendations to the district court

and were not binding. Petitioner also alleges that Government counsel breached the plea agreement

by failing to move for a downward departure where his co-defendants received downward departures

and he was “just as deserving of a downward departure motion as they were.” (Motion to Vacate

at 37.)     Petitioner further asserts that Government counsel was vindictive when he sought

enhancements and a loss amount for sentencing purposes that he knew had no basis in fact and in

threatening to prosecute Petitioner for crimes associated with a company with which Petitioner had

no dealings.

          First, Petitioner’s alleges that Government counsel breached his promise to Petitioner by

arguing in favor of the loss and receipt amounts to which Petitioner stipulated in the plea agreement,

because arguing those amounts violated the terms of the Sentencing Guidelines. Petitioner cites to

§ 2B1.2(c) of the Sentencing Guidelines, which provides that a stipulation that establishes the

commission of additional offenses shall be treated as if the defendant had been convicted of counts

charging such offense. However, in this case, the stipulations did not concern separate offense, but

rather, certain characteristics of the offense relevant to sentencing. Therefore, § 2B1.2 is not

applicable. Moreover, Government counsel’s conduct in arguing in favor of findings in accord with

Petitioner’s stipulations of fact is not inconsistent with that provision of the agreement, but is an

implicit acknowledgment that the decision, was ultimately the Court’s.

          Next, Petitioner contends that the Government breached the plea agreement by failing to file

a motion for a downward departure, a claim premised solely on Petitioner’s assertion that both of

his co-defendant received such motion. However, Petitioner’s plea agreement makes clear that such


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a motion would only be made if “[t]he defendant . . . provide[s] truthful information about the

subject charges and about any other criminal activity within the defendant’s knowledge to any

government agent or agency that the United States designates.” (Doc. 17-2, Ex. to Govt’s Mot. For

Summary Judgment at 7.) In this case, Petitioner pled guilty, but then sought to withdraw his plea

and certainly did not acknowledge his criminal responsibility sufficient to warrant a downward

departure. Moreover, the plea agreement makes clear that the decision to make a downward

departure motion rests entirely with the Government. (Id. at 9.)

       Petitioner asserts that Government counsel engaged in misconduct in arguing for offense-

level enhancements based on loss and receipts that counsel knew could not be supported by

evidence. In the instant case, Petitioner stipulated that the loss amounts and receipts amount argued

by the Government were accurate. (Id. at 2.)

       Petitioner also argues that the Government violated the Plea Agreement by arguing in favor

of an obstruction of justice enhancement. However, nothing in the Plea Agreement precludes the

Government from seeking an obstruction of justice enhancement based on Petitioner’s post-plea

conduct in committing perjury at the plea withdrawal hearing. Moreover, Mr. Murray affirmed in

his affidavit that he advised Petitioner of the risks of testifying because of that very concern.

Petitioner has not established any basis for his claims of prosecutorial misconduct.

       C. Actual Innocence Claim and Claim that Conviction is Invalid

       Finally, Petitioner contends that he is actually innocent of the conspiracy charge because his

factual stipulation that he was aware that false information was contained in the HUD-1 Settlement

Statements was untrue. Petitioner also claims that his conviction for money laundering is invalid

because it was premised on gross proceeds rather than net proceeds.


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       First, the law governing habeas jurisprudence “makes clear that an allegation of ‘actual

innocence’ is not itself a constitutional claim, but instead a gateway through which a habeas

petitioner must pass to have his otherwise barred constitutional claim considered on the merits.”

Herrera v. Collins, 506 U.S. 390, 404 (1993). See also United States v. Brooks, 2008 WL 2783162m

slip op. At 3 (W.D. Va July 17, 2008) (citing Herrera) Harvey v. Horan, 285 F.3d 298, 299 (4th Cir.

2002) (citing Herrera); and Royal v. Taylor, 188 F.3d 239, 243 (4th Cir. 1999) (citing Herrera). To

the extent that Petitioner is attempting to secure a new sentence on the basis of his allegation of

“actual innocence,” his efforts must be flatly rejected because his allegation does not set forth a

cognizable claim for relief.

       Next, to the extent that Petitioner is not alleging a true “actual innocence claim” as that legal

term of art is understood but is instead challenging his guilty plea by alleging that he lied or misled

the Court when he stipulated that he was aware that the false information contained in the HUD-1

Settlement was untrue, Petitioner waived any such a claim pursuant to his Plea Agreement.6 Indeed,

in his Plea Agreement, Petitioner specifically waived his right to challenge, during a post-conviction

proceeding, either his conviction or sentence, except on the basis of ineffective assistance of counsel,

prosecutorial misconduct, or the sentence on the basis of grounds not argued in this motion.

       At his Rule 11 hearing, Petitioner swore under oath7 that, among other things, he understood

that he was waiving his right to challenge his sentence or conviction in a post-conviction proceeding.


       6
         This is also true with respect to his claim that his conviction for money laundering is
invalid because it was premised on gross proceeds, rather than net proceeds.
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         In accordance with the law, this Court has placed great weight on the Petitioner’s
representations at her Rule 11 Hearing. See Blackledge v. Allison, 431 U.S. 63, 73-74 (1977)
(representations made by a defendant at a plea hearing, as well as any findings made by the
judge, constitute a formidable barrier in any subsequent collateral proceeding).

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(Rule 11 Hearing transcript at 19.)

       The Fourth Circuit has expanded the general rule concerning appeal waivers to hold that a

defendant may waive in a plea agreement his rights under § 2255 to attack his conviction and

sentence collaterally. United States v. Lemaster, 403 F.3d 216 (4th Cir. 2005). Consequently this

Court concludes that the Agreement’s waiver provision is valid and fully enforceable, and that it

stands as an absolute bar to the Petitioner’s attempts to challenge his conviction and sentence on the

above cited grounds.8

       Moreover, in connection with this same allegation at his hearing on his motion to withdraw

his plea, this Court has already specifically determined that Petitioner had not provided any credible

evidence that his plea was not knowing or voluntary or that he had a claim of legal innocence. (Plea

Withdrawal Hearing Transcript at 68-70.) The Fourth Circuit affirmed this Court’s decision. United

States v. Hines, 227 Fed. App’x 256, 257-58 (4th Cir. 2007). Petitioner has not provided any further

evidence regarding this claim. Further, at sentencing, this Court found the Government’s obstruction

enhancement appropriate and revoked acceptance of responsibility based on Petitioner’s perjury

regarding the stipulation he signed indicating that he knew there was false information in the HUD-1

Settlement Statement. Therefore, for the reasons stated herein, this claim is dismissed

                                            III. ORDER

       NOW, THEREFORE, IT IS HEREBY ORDERED that Petitioner’s Motion to Vacate

(Document No. 1) is DENIED, the Government’s Motion for Summary Judgment is GRANTED

(Document No. 18). IT IS FURTHER ORDERED that Petitioner’s Motion to Correct Clerical

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         Moreover, Petitioner did not attempt to raise these issues on appeal. See United States
v. Mikalajunas, 186 F.3d 490, 492093 (4th Cir. 1999); United States v. Frady, 456 U.S. 152
(1982); Bousley v. United States, 523 U.S. 614, 621 (1998).

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Error (Doc. No. 38) is GRANTED. The Clerk is directed to prepare an amended judgment only to

correct the following two clerical errors: 1) the date offense concluded with respect to Count One

should read 9/2001 and not 9/2003 and 2) Petitioner was sentenced on Count One to 60 months and

not 6 months.

       IT IS FURTHER ORDERED that the following motions are denied as moot:

       Petitioner’s Motions for Summary Judgment (Doc Nos. 6, 21 and 53);
       Petitioner’s Motion for Discovery (Doc. No. 24);
       Petitioner’s Motion to Expedite (Doc. No. 4);
       Petitioner’s Motion to Strike (Doc. No. 51);
       Petitioner’s Motion that the Government Concede (Doc. No. 54).


SO ORDERED.



                                                Signed: October 1, 2009




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